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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO

EASTERN DIVISION

STATE OF OHIO ) CASE NO. 1:25-CR-00200

)
Plaintiff, ) JUDGE PAMELA A. BARKER

)

V. ) MOTION TO TAKE NOTICE THAT
) DEFENDANT IS ASSERTING AN

MOLLY DUNCAN ) INSANITY DEFENSE
)

Defendant. )

Now comes Defendant Molly Duncan, herein moves this Honorable Court to Take Notice
that she is asserting an insanity defense at this time of her charges in her indictment pursuant to
Rule 12.2 (a) of the Federal Rules of Criminal Procedure. Defendant further intends to introduce
expert evidence relating to her mental disease or defect at trial hearing on the issue of guilt and/or
issue of punishment.

Respectfully submitted,

/s/ R. J. Budway /s/ Steve Albenze

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CERTIFICATE OF SERVICE

A copy of the foregoing Motion was served on the State by electronic mail transmission this
14th day of July, 2025, upon the following:

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